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UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   UNITED STATES’S RESPONSE TO
                                        )   DEFENDANT’S MOTION FOR
    vs.                                 )   RECONSIDERATION OF COURT’S
                                        )   8/21/18 ELECTRONIC ORDER RE:
ANTHONY T. WILLIAMS,                    )   “UNITED STATES’S MOTION TO
                                        )   EXTEND THE DEADLINE TO
          Defendant.                    )   RESPOND TO DEFENDANT’s
                                        )   MOTION TO DISMISS; CERTIFICATE
                                        )   OF SERVICE

         UNITED STATES’S RESPONSE TO DEFENDANT’S
       MOTION FOR RECONSIDERATION OF COURT’S 8/21/18
   ELECTRONIC ORDER RE “UNITED STATES’S MOTION TO EXTEND
   DEADLINE TO RESPOND TO DEFENDANT’S MOTION TO DISMISS
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      The government respectfully submits this brief in opposition to Defendant

Anthony T. Williams’s (Defendant) Motion for Reconsideration of Court’s 8/21/18

Electronic Order Re United States’s Motion to Extend Deadline to Respond to

Defendant’s Motion to Dismiss. ECF No. 305. Properly styled, Defendant’s

motion is an untimely and moot opposition to the government’s motion for an

extension of time relating to the briefing schedule for Defendant’s motion to

dismiss. Defendant filed a motion to dismiss on July 20, 2018, ECF No. 294, and

the government moved to extend the time to respond by 21 days on July 31, 2018,

based in part upon the voluminous nature of Defendant’s motion and the schedules

of the government’s attorneys. ECF No. 298. The Court granted the modification

to the briefing schedule on August 20, 2018. ECF No. 302.

      As of the date of Defendant’s current motion, August 22, 2018, the Court

already entered the scheduling order for Defendant’s motion to dismiss, and

Defendant’s motion is therefore untimely. Moreover, as of the date of this brief,

September 10, 2018, the government has already submitted its brief in accordance

with the Court’s scheduling order. ECF No. 309. Accordingly, briefing upon

Defendant’s motion to dismiss is complete and the matter is submitted.

Defendant’s request is moot.

      Thus, the motion to dismiss, and its briefing schedule, is settled. In any

event, had Defendant timely objected to the motion, there is nothing improper with


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the Court’s order modifying the briefing schedule, which is well within the

“inherent power” of this Court to control [its] dockets.” Atchison, Topeka & Santa

Fe Ry. Co. v. Hercules, Inc., 146 F.3d 1071, 1074 (9th Cir. 1998). The Court

“exercise[s] substantial discretion over what happens inside the courtroom. United

States v. Simpson, 927 F.2d 1088, 1091 (9th Cir. 1991). Moreover, the Court’s

decision here to grant the extension was consistent with Local Rule 7.2(d) of the

Rules of the District Court for the District of Hawaii, which permits decisions on

all matters without a hearing, unless specifically required.”

      Nonetheless, having failed to timely oppose the briefing schedule, Defendant

may not re-style an untimely opposition as a motion for reconsideration. Local

Rule 60.1 of the Rules of the U.S. District Court for the District of Hawaii

indicates that reconsideration of interlocutory orders may only take place upon the

following grounds:

             (a)     Discovery of new material facts not previously
                     available;
             (b)     Intervening change in law;
             (c)     Manifest error of law or facts.

Defendant’s motion implicate none of these grounds. Rather, Defendant’s sole

basis for his motion is his disagreement that government attorney’s schedules

provide a reasonable basis for relief, or that an extension would not be prejudicial.

Def. Mot. Reconsideration Exh. A at 1 (ECF No. 305-2). However, disagreement

is not a basis for a motion for reconsideration pursuant to Local Rule 60.1.

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                                 CONCLUSION

      For the foregoing reasons, the government respectfully opposes Defendant’s

Motion for Reconsideration of Court’s 8/21/18 Electronic Order Re United States’s

Motion to Extend Deadline to Respond to Defendant’s Motion to Dismiss and

requests that the Motion be denied.

            DATED: September 10, 2018, at Honolulu, Hawaii.

                                            KENJI M. PRICE
                                            United States Attorney
                                            District of Hawaii


                                            By /s/ Gregg Paris Yates
                                              GREGG PARIS YATES
                                              Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
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             DATED: September 10, 2018, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
